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A 0 245B (Rev 12103) Sheet 1 - Judgment in a Criminal Case


                            UNITED S TA TES DISTRICT COURT
                                                  MIDDLE DISTRICT OF FLORIDA
                                                       TAMPA DIVISION



UNITED STATES 01: AMERlCA                                       JUDGMENT IN A CRIMINAL CASE

                                                                CASE NUIviBER: 8:04cr-379-T-23MSS
                                                                USM NUMBER: 4084 1-018
vs.



                                                                Defendant's Attorney: Alec IIall, pda

THE DEFENDANT:

X pleaded guilty to counts ONE. TWO, and THREE of the Indictment.
-

TITLE & SECTION                     NATURE OF OFFENSE                                     OFFENSE ENDED                 COUNT

18 U.S.C. 5 1028(f)                 Conspiracy to Commit Identity Theft                   September 2004                ONE

42 U.S.C. S 408(a)(7)(C)            Possession of a Counterfeit Social Security           August 10. 2004               TWO
and 18 U.S.C. 5 2                   Card with Intent to Sell

18 U.S.C. 5 1028(A) and 2           Aggravated Identity Theft                             August 10. 2001               THREE

        Thc defendant is sentenced as provided in pages 2 through 6 of this judgment. The sentence is imposed pursuant to the
Sentencing Reform Act of 1984.


IT IS FURTHER ORDERED that the defendant shall notify the United States Attorney for this district within 30 days of any change
of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully
paid.
If ordered to pay restitution, the defendant shall notify the court and United Stales Attorney of any material change in economic
circumstances.


                                                                                  Date of Imposition of Sentence: June 21, 2005




                                                                                                                    L
                                                                                      STEVEN D. MERRYDAY                      1
                                                                                  UNITED STATES DISTRICT JUDGE

                                                                                  DATE: June % Y 2 0 0 5
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A 0 215B (Rev 12/03) Sheer 2 - Imprisonment
Defendant:          IBRAHEEM LADUI                                                                          Judgment - Page 1of 6
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                   The defendant is hereby committed to the custody of the United States Bureau of Prisons to be
inlprisoned for a total term of FORTY (40) MONTHS. The term consists of' SIXTEEN (16) months as to counts one and
two, both t e r n ~ slo run concurre~itlyand TWENTY-FOUR (2.4)      h1ONTIlS ils to count three, to run consecutively t o the
term of inlprisonmcnt imposed in counts one and two The total term of forty (40) months imposed in this matter shall
be served consecutively to the term of bnprisonmcnt imposed in case number 8:03-cr-75-T-30.




    The court makes the following recornmendations to the Bureau of Prisons: that the defendant be placed in FCI Fort Dix,
New Jersey.



X The defendant is remanded ro the cusrody of the Uniled Srates hlarsllal.
-
- The defendant shall surrender to the United Slates lvlarshal for this diurict.
          - at - a.m./p.m. on -.
          - as notilied by the United States Marsllal.
- The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons.

          - before 2 p.m. on -.
          - as notified by the United Stares Marshal.
          - as notifid by the Probation or Pretrial Services Office.


                                                                     RETURN

          I have executed this judgment as follows:




          Defendant delivered on                                                   to

at                                                                       , with a certified copy of this judgment.



                                                                                        United States Marshal

                                                                      By:
                                                                      Deputy Marshal
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A 0 245B (Rev. 12/03) Sheet 3 - Supervised Release

Defendant:         I B M E E M LADEJI                                                             Judgment - Page 3of 6
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                                                       SUPERVISED RELEASE
         Upon release from imprisonment, the defendant shall be on supervised release for a term of THlRTY-SIX (36) h1ONTHS.
The term consists of THIRTY-SIX (36) MONTHS as to counts one and two, and TWELVE (12) MONTHS as to count three: all terms
shall run concurrently.

        The defendant shall report to the probation office in the district to which the defendant is released within 72 hours of release
from the custody of the Bureau of Prisons.

         While on supervised release. the defendant shall not commit another federal, state. or local crime, and shall not possess a
firearm, ammunition, or destructive device as defined in 18 U.S.C. fi 921.

X
-        The defendant shall not illegally possess a controlled substance. The defendant shall refrain from any unlawful use of a
         controlled substance. Based on the probation officer's determination that additional drug urinalysis is necessary, the Court
         authorizes random drug testing not to exceed 104 tests per year.

-
X        The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of future
         substance abuse.

X
-        The defendant shall cooperate in the collection of DNA as directed by the probation officer.

        If this judgment imposes a fine or a restitution it is a condition of supervised release that the defendant pay in accordance with
the Schedule of Payments sheet of this judgment.

         The defendant shall comply with the standard conditions that have been adopted by this court as well as with any additional
condirions on the attached page.
                                         STANDARD CONDITIONS OF SUPERVISION
         the defendant shall not leave the judicial district without the permission of tlic court or probation officer:
         the defendant shall report to the probation officer and shall submit a truthful and complete written rcport within tlic first five days
         of each month:
         the defendant shall answcr truthfully all inquiries by the probation officer and follow thc instructions of the probation officer:
         the defendant shall support his or her dependents and meet other family responsibilities:
         the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
         acceptable rcasons:

         the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
         the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
         controlled substancc or any paraphernalia related to any controlled substances, cxccpt as prescribed by a physician:
         the defendant shall not frcqucnt places where controlled substances are illegally sold, uscd, distributcd, or administered:
         the defendant shall not associatc with any persons engaged in criminal activity and shall not associate with any person convicted of
         a felony. unless granted permission to do so by the probation officer;
         the defendant shall pcrmit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of
         any contraband observed in plain view of tlic probation officer:
         the defendant shall notify the probation officcr within scventy-two hours of being arrested or questioned by a law enforcement
         officer:
         the defendant shall not cntcr into any agreement to act as an informer or a special agent of a law enforcemcnt agency without thc
         permission of thc court:
         as dirccted by the probation officer, the dcfcndant shall notify third parties ofrisks that may be occasioned by the defendant's crin~inal
         record or personal histo~yor characteristics and shall permit the probation officcr to make such notifications and to confirm the
         defendant's compliance with such notification requiren~ent.
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A 0 245B (Kev. 12/03) Sheet 3C - Supervised Release

Defendant:        IBRAI-IEEM LADEJI                                                         Judgment - Page 4 of 6
Case No.:         8:kr-379-T-23MSS
                                        SPECIAL CONDITIONS OF SUPERVISION

         The defendant shall also comply with the following additional conditions of supervised release:

 -
 X        If the defendant is deported, he shall not re-enter the United States without the express permission of the appropriate
          governmental authority.
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A 0 245B (Rev 12/03) Sheer 5 - Criminal Monetary Penalties

Defendant:         IBRAHEEIM LADHI                                                         Judgment - Page 5 of 6
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                                          CRIMINAL MONETARY PENALTIES

         The defendant must pay the total criminal monetary penalties under tlic schedule of payments on Sheer 6.
                            Asscssnient                        -
                                                               Fine                        Total Restitution

         Totals:            $300.00                            $ waived                    $


-        The determination of restitution i.s deferred until   -.         An Atnetlded Judgtllerlt in a Crimi~lalCase ( A 0 245C) will
         be entered after such determinat~on.
-        The defendant must make restitution (including community restitution) to the following payees in the amount listed
         below.
         If the defendant makes a parria! payment, each payee shall receive an approximately proportioned payment, unless
         specified otherwise In the prlorlty order or-percentage pa ment colunln below. However, pursuant to 18 U.S.C. 5
                                                                      Y
         3664(i). all non-federal victims tnust be paid before the nited States.
                                                                                                            Priority Order or
                                                *Total                       Amount of                      Percentage of
Name of Pavee                                 Amount of Loss              Restitution Ordered               Pavment




                            Totals:

         Restitution amount ordered pursuant to plea agreement $
         The defendant shall ay interest on any fine or restitution of more than $2,500, unless the restitution or line is paid in full
                             8
         before the fifteenth ay after the date of the judgment, ursuant to 18 U.S.C. 5 3612(f). All of the payment options on Sheet
         6 may be subject to penalties for delinquency and deiJ a u'k pursuant to 18 U.S.C. 5 3612(g).
         The court determined that the defendant does not have the ability to pay interest and it is ordered that:
        -          the interest requirement is waived for the - fine      - restitution.
        -          the interest requirement for the - fine - restitution is modified as follows:


* Findings for the total amount of losses are required under Cha ters 109A, 110. 1 1OA, and 1 13A of Title 18 for the offenses
committed on or after September 13, 1994. but before April 23, 1896.
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A 0 245B (Rev 12/03) Sheet 6 - Schedule of Payments

Defendant:         IBRAI-IEEM LADEJI                                                       Judgment - Page 6of 6
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                                                  SCHEDULE OF PAYMENTS



Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties are due as follows:

A.       -
         X Lump sum pay~nentof $ 300.00 due immediately, balance due
                            - not later than                  , or

                            -in accordance - C, - D, - E or - F below: or
B.       -         Payment to begin immediately (may be combined with -C. -D, or - F below): or
C.       -         Payment in equal                  (e.g., weekly, monthly, quarterly) installments of $             over a
                   period of          (e.g ., months or years), to commence              days (e.g.. 30 or 60 days) after the
                   date of this judgment; or
D.       -         Payment in equal                ( e . t , weekly. monthly, quarterly) installments of $             over a
                   period of             , (e.g., mont s or years) to commence                      (e.g. 30 or 60 days) after
                   release from imprisonment to a term of supervision; or
E.       -         Payment during the term of supervised release will cornmence within                        (e.g.. 30 or
                   60 days) after release from imprisonment. The court will set the payment plan based on an assessment of
                   the defendant's ability to pay at that time, or
F.       -         Special instructions regarding the payment of criminal monetary penalties:




Unless the court has expressly ordered otherwise, if this judgment imposes a period of                                      of criminal
monetar penalties is due during in1 risonment. All criminal monetary penalties,                                       made through the
          B                             5
Federal ureau of Prisons' Inmate inancial Responsibility Program, are made
The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.
-        Joint and Several
        Defendant and Co-Defendant Names and Case Numbers (including defendant number). Total Amount, Joint and
Several Amount, and corresponding payee, if appropriate:


-        The defendant shall pay the cost of prosecution.
-        The defendant shall pay the following court cost(s):
-        The defendant shall forfeit the defendant's interest in the following property to the United States:


Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
(5) community restitution, ( 6 ) h e interest (7) penalties, and (8) costs. including cost of prosecution and court costs.
